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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF VIRGINIA
                                 RICHMOND DIVISION




 ANGELO MARCELLUS IRVING, JR.,

                                         Petitioner.
                                                         Criminal Action Number 3:01CR304-1
                         v.
                                                         Civil Action Number 3:04CV859
 UNITED STATES OF AMERICA

                                       Respondent.


                                         FINAL ORDER

       THIS MATTER is before the Court on ANGELO IRVING’s Motion to Vacate, Set Aside,

or Correct Sentence pursuant to 28 U.S.C. § 2255. Upon due consideration, and for the reasons set

forth in the accompanying Memorandum Opinion, Petitioner’s Motion is hereby DENIED.

       Petitioner is reminded that he may appeal this Order but he must do so within thirty (30) days

after entry of the Order. Any appeal must proceed in accordance with Rule 22 of the Rules of

Appellate Procedure and 28 U.S.C. § 2253.

       Let the Clerk send a copy of this Order to Mr. Irving and counsel for the United States.

       It is SO ORDERED.




                                               /s/ James R. Spencer
                                              JAMES R. SPENCER
                                              UNITED STATES DISTRICT JUDGE

 APR 18, 2005
DATE
